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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

                                                                 Civil Action No. 9:22-cv-80270
   LARRY KLAYMAN,
                                                                 Removed from:
                                 Plaintiff,
                                                                 THE CIRCUIT COURT OF THE
                         v.                                      FIFTEENTH JUDICIAL CIRCUIT, IN
                                                                 AND FOR PALM BEACH COUNTY,
   JULIA PORTER, HAMILTON FOX, III,                              FLORIDA
   MATTHEW KAISER
                        Defendants.                              CASE NO. 50-2022- CA000122XXXXMB



        DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR REMAND

         In his motion to remand, Plaintiff does not dispute the diversity of the parties, or that his

  prior actions against Defendants sought damages in excess of $75,000. Dkt. No. 8 at 1. Plaintiff’s

  attempts to overcome Defendants’ showing that the amount in controversy in this case also exceeds

  $75,000 are unavailing. Plaintiff’s request for sanctions is baseless and should be denied in any

  event because Plaintiff has failed to comply with the safe-harbor provision of Rule 11.

                                         INTRODUCTION

         In this case, the seventh fundamentally identical case filed by Plaintiff – including one in

  which the U.S. Court of Appeals for the D.C. Circuit rejected his claims – Plaintiff once again

  seeks damages related to ongoing disciplinary actions taken by the District of Columbia Court of

  Appeals and proceedings initiated by the Office of Disciplinary Counsel of the District of

  Columbia Bar – all involving Plaintiff’s practice of law in the District of Columbia. This is

  Plaintiff’s second attempt in less than two months to involve the courts of Florida in the

  disciplinary sanctions and procedures to which he is subject in the District of Columbia.




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          Plaintiff filed a nearly identical complaint on December 6, 2021, in the Circuit Court of

  Palm Beach County, Florida. After Defendants removed that action to federal court on diversity

  and federal question grounds, Plaintiff dismissed and then refiled the instant restructured complaint

  that same day. See Pl. Notice of Voluntary Dismissal, Klayman v. Porter et al., No. 9:22-cv-80003-

  KAM (S.D. Fla. Jan. 6, 2022), ECF No. 8.

          Although Plaintiff now also purports to seek injunctive relief against lawyers employed by

  the District of Columbia Court of Appeals through the Office of Disciplinary Counsel, his claim

  remains premised on the same underlying facts as his previous lawsuits, all six of which were filed

  in federal court, and which claimed damages well in excess of $75,000, the statutory requirement

  for federal diversity jurisdiction. In the most recent iteration of his claim, however, Plaintiff claims

  that his damages are one cent less than $75,000.1 There is no meaningful distinction between his

  allegations in this action and his allegations in the three cases in which he seeks over $75,000 in

  damages. While Plaintiff’s motion to remand characterizes his cause of action as primarily for

  injunctive relief, the reality is that this lawsuit is for all intents and purposes the same as the other

  cases against D.C. Office of Disciplinary Counsel and D.C. Bar officials seeking over $75,000 –

  all of these cases challenge the Office of Disciplinary Counsel’s disciplinary proceedings involving

  his practice of law in the District of Columbia.




      1
        The instant complaint, which includes claims for tortious interference and abuse of process,
  as well as purported violations of Plaintiff’s rights under the Florida constitution, parrots nearly
  verbatim various allegations that Plaintiff has made repeatedly against these Defendants and others
  affiliated with the ODC and/or the Board. Compare Fl. Compl. ¶ 8 (alleging Defendants have
  “engaged in the equivalent of a partisan politically and ideologically based agenda and in effect a
  crusade to have Mr. Klayman removed from the practice of law”) with Compl. ¶ 10, Klayman v.
  Porter, et al., C.A. No. 1:20-cv-03109-RDM (D.D.C.) (alleging Defendants have “engaged in the
  equivalent of a partisan politically based agenda and in effect a ‘jihad’ to have Mr. Klayman
  removed from the practice of law”).
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         “Litigation is the pursuit of practical ends, not a game of chess.” City of Indianapolis v.

  Chase Nat’l Bank, 314 U.S. 63, 69 (1941). Plaintiff has pleaded his way into federal court seeking

  monetary relief on the same allegations and against the same defendants on at least six occasions

  in the past three years. He now tries to forum shop his way into the state courts of Florida by

  claiming there is one cent less than $75,000 in controversy in this lawsuit. As explained below,

  the Court should reject Plaintiff’s transparent manipulation of the amount in controversy and deny

  his motion for remand.

                                        LEGAL STANDARDS

         I.      Diversity Jurisdiction

         A defendant may remove a civil action from state to federal court if the action originally

  could have been filed as a federal action; i.e., if federal jurisdiction exists. 28 U.S.C. § 1441(a),

  (b). Where, as here, federal jurisdiction is based on diversity of the parties, all plaintiffs must be

  diverse from all defendants, and the amount in controversy must exceed $75,000. 28 U.S.C.

  § 1332(a); Caterpillar, 519 U.S. at 68; Strawbridge v. Curtiss, 7 U.S. 267 (1806). The burden of

  establishing subject matter jurisdiction falls on the party invoking removal. Pacheco de Perez v.

  AT & T Co., 139 F.3d 1368, 1373 (11th Cir. 1998).

         “When a plaintiff seeks injunctive or declaratory relief, the amount in controversy is the

  monetary value of the object of the litigation from the plaintiff's perspective.” Cohen v. Office

  Depot, Inc., 204 F.3d 1069, 1077 (11th Cir. 2000); see also Hartford Ins. Grp. v. Lou-Con Inc.,

  293 F.3d 908, 910 (5th Cir. 2002) (amount in controversy in an action for declaratory relief is “the

  value of the right to be protected or the extent of the injury to be prevented”); Aurora Medical

  Imaging LLC v. Allstate Ins. Co., Case No. 3:14-cv-00163-RV-CJK (N.D. Fla. Oct. 6, 2014)

  (Order Denying Motion to Remand), slip. op. at 7 (“[I]n assessing the jurisdictional amount in



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  declaratory relief cases, the federal court should include in its assessment the value of all relief and

  benefits that would logically flow from the granting of the declaratory relief sought by the

  claimants.”).

         Where a notice of removal's allegations are disputed, the removing party bears the burden

  of proof to establish by a preponderance of the evidence that the amount in controversy exceeds

  the jurisdictional minimum. See Dudley v. Eli Lilly & Co., 778 F.3d 909, 912-13 (11th Cir. 2014)

  (citing Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81 (2014)); Foster v. Res. for

  Human Dev., Inc., No. 8:07-cv-01096-T-17-EAJ, 2007 WL 2225811, at *6 (M.D. Fla. July 31,

  2007) (denying motion for remand and noting that “Plaintiff's complaint failed to offer any

  prophylactic evidence, or point to any underlying facts that might have been useful to rebut

  Defendants assertions”). In determining whether a defendant has met its burden, “[a] court may

  rely on evidence put forward by the removing defendant, as well as reasonable inferences and

  deductions drawn from that evidence.” Signor v. Safeco Ins. Co. of Illinois, No. 19-61937-CIV,

  2019 WL 7911214, at *1 (S.D. Fla. Dec. 11, 2019) (quoting S. Fla. Wellness, Inc. v. Allstate Ins.

  Co., 745 F.3d 1312, 1315 (11th Cir. 2014)).

         II.      Rule 11

         Federal Rule of Civil Procedure (“FRCP”) 11 is designed to discourage abusive conduct

  that frustrates the just, speedy and inexpensive determination of actions. See Fed. R. Civ. P. 11

  advisory committee’s note to 1993 amendment. The signatory of a motion, pleading or other paper

  presented to the court certifies that “to the best of the person’s knowledge, information, and belief,

  formed after an inquiry reasonable under the circumstances,” (1) the paper is not “presented for

  any improper purpose,” (2) any legal contentions are “warranted by existing law or by a

  nonfrivolous argument for the extension, modification, or reversal of existing law or the



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  establishment of new law,” (3) any factual contentions have evidentiary support, and (4) any

  denials are warranted by the evidence or a lack of information or belief. See Fed. R. Civ. P. 11(b);

  see also Pelletier v. Zweifel, 921 F.2d 1465, 1514 (11th Cir. 1991). A violation of these

  certifications is sanctionable at the discretion of the court and after notice and an opportunity to

  respond. See Fed. R. Civ. P. 11(c); Riccard v. Prudential Ins. Co., 307 F.3d 1277, 1294 (11th Cir.

  2002).

           Rule 11 provides parties with a 21-day safe harbor period in which they may withdraw

  challenged pleadings without facing sanctions. To ensure that parties have the benefit of this safe

  harbor, Rule 11 requires a movant to serve a Rule 11 motion on the opposing party at least 21 days

  before filing it. Fed. R. Civ. P. 11(c)(1)(A); see also Peer v. Lewis, 606 F.3d 1306 (11th Cir. 2010)

  (Rule 11 motion was untimely filed and therefore, not considered); Macort v. Prem, Inc., 208 Fed.

  Appx. 781, 786 (11th Cir. 2006) (Rule 11 sanctions not available because movant failed to comply

  with 21-day safe harbor notice).

           Rule 11 sanctions are reserved for “extreme cases” of misconduct. Crawford-El v. Britton,

  523 U.S. 574, 601 (1998); see also Menendez v. Signature Consultants, LLC, 2011 WL 6179727,

  *1 (S.D. Fla. Dec. 13, 2011) (“Rule 11 is an extraordinary remedy, one to be exercised with

  extreme caution.”); Patterson v. Aiken, 841 F.2d 386, 387 (11th Cir. 1988) (imposition of sanctions

  was supported by evidence that litigant brought action based on allegations which had been

  adversely decided against him previously). It is improper to use a motion pursuant to Rule 11 in

  order to “emphasize the merits of a party’s position … to intimidate an adversary into withdrawing

  contentions that are fairly debatable, [or] to increase the costs of litigation.” Fed. R. Civ. P. 11,

  advisory committee notes to 1993 amendments; see also Bartronics, Inc. v. Power-One, Inc., 245

  F.R.D. 532, 538 (S.D. Ala. 2007).



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                                              ARGUMENT

  I.       The Court has subject matter jurisdiction based on diversity, 28 U.S.C.
           § 1332(a).

           Plaintiff maintains that his “prior actions have no bearing on this current action” because

  this case “is primarily being brought for injunctive relief.”2 Dkt. No. 8 at 1–2. The fact that

  Plaintiff now seeks injunctive relief does not alter the fact that Plaintiff has assessed his claims as

  worth “in excess of $75,000” – not at $74,999.99 as he now claims – in no fewer than six federal

  civil suits filed in U.S. District Courts from coast to coast. Id. at 1.

           The Court must limit “the potential for abusive manipulation by plaintiffs, who may plead

  for damages below the jurisdictional amount in state court with the knowledge that claim is

  actually worth more, but also with the knowledge that they may be able to evade federal

  jurisdiction by virtue of the pleading.” WRIGHT, MILLER & COOPER, FEDERAL PRACTICE AND

  PROCEDURE: JURISDICTION 2D § 3725 at 426. In determining the actual amount in controversy, the

  Court may disregard a plaintiff’s specific damage allegation that seeks damages below the federal

  jurisdictional amount if such claim for damages is not made in good faith. See Wilson v. Fresh

  Mkt., Inc., No. 9:19-CV-81037, 2020 WL 355192, at *3 (S.D. Fla. Jan. 3, 2020) (quoting 28 U.S.C.

  § 1446(c)(3)(B)) (Bad faith occurs when “the plaintiff deliberately failed to disclose the actual

  amount in controversy to prevent removal[.]”)); Boelens v. Redman Homes, Inc., 759 F.2d 504,

  507 (5th Cir. 1985) (citation omitted) (stating that “tactical manipulation [by the] plaintiff cannot

  ... be condoned”).



       2
        The fact that Plaintiff seeks injunctive relief does not prevent this Court from having diversity
  jurisdiction. In fact, Plaintiff filed a complaint in D.C. federal court seeking injunctive relief
  against 13 D.C. Court of Appeals judges and the court’s clerk on diversity jurisdiction grounds.
  Plaintiff’s Opp. to Defs.’ Mot. to Dismiss and Reply to Opp. to Mot. for Prel. Inj. at 18, Klayman
  v. Blackburne-Rigsby, et al., C.A. No. 21-cv-00409-ABJ (D.D.C.) (ECF No. 21); Compl. ¶ 1,
  Klayman v. Blackburne-Rigsby, et al., C.A. No. 21-cv-00409-ABJ (D.D.C.) (Ex. 1).
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         The only issue in dispute is whether Plaintiff’s claims against Defendants place more than

  $75,000 in controversy. In cases for equitable relief, courts look beyond the face of the complaint

  to the value of the object of the litigation from the plaintiff's perspective, including the value of

  potential money damages in a subsequent action. See S. Fla. Wellness, 745 F.3d at 1316; Camoco,

  LLC v. Levya, 2018 WL 4178721, *2 (M.D. Fla. Aug. 31, 2018). From the Plaintiff’s perspective,

  the injunctive relief sought by Plaintiff here is clearly worth more than the two cents necessary to

  bring his total claim above $75,000. Cohen, 204 F.3d at 1077. Plaintiff complains that Defendants

  – Office of Disciplinary Counsel (“ODC”) and District of Columbia Board on Professional

  Responsibility officials – “have engaged in the equivalent of a partisan politically and ideologically

  based agenda and in effect a crusade to have Mr. Klayman removed from the practice of law.”

  Compl. ¶ 8. Plaintiff contends that Defendants’ actions amount to “tortious interference, abuse of

  process, and violations of Section IV and Section IX of the Florida constitution.” Compl. at 1.

  Plaintiff’s claims include (a) for temporary and permanent injunctive relief and (b) for general,

  special, actual and compensatory damages “in excess of $30,000 but less than $75,000.”3 Compl.,

  Prayer for Relief, ¶¶ a–b.

         Plaintiff’s prior actions challenging the same D.C. Bar disciplinary proceedings against

  him demonstrate that he in fact seeks damages in the State Court Action “in excess of $75,000.”

  See Anderson v. Mosaic Fertilizer LLC, No. 8:19-CV-1225-T-35AEP, 2019 WL 12384792, at *3

  (M.D. Fla. July 31, 2019) (rejecting plaintiff’s claims that the amount in controversy was not met

  and noting prior demands in similar case may reflect an “honest assessment of plaintiff’s




     3
        Defendants do not concede that Plaintiff is entitled to any recovery here, or that, if Plaintiff
  prevails, he is entitled to any given amount. Rather, Defendants maintain only that a reasonable
  jury, finding in Plaintiff's favor on his claims, could value Plaintiff's claims in excess of $75,000.00
  at the time of removal.
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  damages”); Gavronsky v. Walgreen Co., No. 3:09-cv-1167-J-12TEM, 2010 WL 717485, at *2–3

  (M.D. Fla. Feb. 26, 2010) (denying plaintiff's motion for remand and relying in part on defendant's

  evidence of awards in similar cases). For example, Plaintiff filed a complaint against Defendants

  in the Northern District of California claiming the disciplinary proceedings were part of a “partisan

  politically based agenda,” amounting to “tortious interference and abuse of process” and damages

  “in excess of $75,000.” Compl. ¶ 1, 13, Klayman v. Kaiser, et al., C.A. No. 1:21-cv-00965-RDM

  (N.D. Cal.) (Ex. 2); see also Compl. ¶¶ 1, 10, 33, Klayman v. Porter, et al., C.A. No. 3:20-cv-

  02526-M (N.D. Tex.) (Ex. 3) (same); Compl. ¶¶ 1, 10, 30, Klayman v. Porter, et al., C.A. No. 1:20-

  cv-01014-LY (W.D. Tex.) (Ex. 4) (same); see also Compl. Prayer for Relief, Klayman v. Lim, et

  al., C.A. No. 1:18-cv-02209-RDM (D.D.C.) (Ex. 5) (same and seeking “no less than $75,000 and

  in an amount in excess of $9,500,000”); Mem. Opinion at 1, Klayman v. Fox, et al., C.A. No. 1:18-

  cv-01579-RDM (D.D.C. June 5, 2019) (Ex. 6) (citing Am. Compl. Prayer for Relief (ECF No. 1)

  (Ex. 7) (“[Klayman] asks that the Court enjoin the disciplinary proceedings pending against him

  and award at least $75,000 in damages.”)).

         Moreover, Plaintiff’s complaint seeks damages for “bankrupting [Plaintiff] and killing his

  Section IV right to private and public advocacy, as well as defaming him publicly,” Compl. ¶ 46,

  the same claim for which he sought over $75,000 when he sued Defendants in the U.S. District

  Court for the District of Columbia. Compl. ¶ 1, Klayman v. Kaiser, et al., C.A. No. 1:21-cv-00727-

  ABJ (D.D.C.) (Ex. 8). See Fastcase, Inc. v. Lawriter, LLC, 907 F.3d 1335, 1343-44 (11th Cir.

  2018) (action for declaratory and injunctive relief satisfied amount in controversy even though it

  did not directly confer rights to a sum certain, because it related to party's “potential liability” in

  potential subsequent action).




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          “The jockeying of a case from state court, to federal court, and then back to state court is a

  ‘drain on the resources of the state judiciary, the federal judiciary, and the parties involved; tactical

  manipulation by the plaintiff … cannot be condoned.’” Estate of Olmstead v. Beverly Enterprises-

  Florida, Inc., No. 96-1941-CIV-T-17B, 1997 WL 155410, at *3 (M.D. Fla. Mar. 17, 1997) (quoting

  Boelens v. Redman Homes, Inc., 759 F.2d 504, 507 (5th Cir. 1985)) (internal quotation marks

  omitted). Here, Plaintiff has done just that. Plaintiff's gamesmanship in withdrawing his original

  complaint – filed in the Circuit Court of the Fifteenth Judicial Circuit, in and for Palm Beach

  County – in an attempt to keep his lawsuit out of federal court weighs against remanding this case.

  See Young v. Roy's Rest., No. 6:06CV178 ORL19JGG, 2006 WL 2024946, at *2 (M.D. Fla. July

  17, 2006) (explaining that “whether a plaintiff has engaged in gamesmanship or manipulative

  tactics” is “[c]entral” to the “determination of whether to remand,” and denying plaintiff's motion

  to remand where plaintiff had filed a post-removal amended complaint to remove the federal basis

  for jurisdiction); cf. Greenwald v. Palm Beach Cnty., 796 F. Supp. 1506, 1507 (S.D. Fla. 1992)

  (refusing to remand where plaintiff “rolled the dice” by asserting a federal claim, thus “running

  the risk of removal … [T]he undersigned will not permit Greenwald to oust the court's jurisdiction

  by voluntarily dismissing without prejudice the sole federal cause of action in his Complaint.”);

  cf. Rockwell Int'l Corp. v. United States, 549 U.S. 457, n. 6 (2007) (“But removal cases raise forum-

  manipulation concerns that simply do not exist when it is the plaintiff who chooses a federal forum

  and then pleads away jurisdiction through amendment.”).

          Plaintiff has filed seven lawsuits against the substantially same defendants on nearly

  identical claims. Plaintiff seeks to collaterally attack ongoing disciplinary proceedings related to

  Plaintiff’s license to practice law in the District of Columbia, but this time amending his complaint

  to fall only two cents short of the jurisdictional threshold. As is clear from Plaintiff’s tactics in



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   this case, Plaintiff is seeking to find in a Florida state court a forum that will entertain his claims

   against District of Columbia Bar disciplinary counsel that have already been adjudicated by the

   U.S. District Court for the District of Columbia and affirmed by the U.S. Court of Appeals for the

   D.C. Circuit. See Klayman v. Lim, 830 F. App’x 660, 662 (D.C. Cir. 2020), reh’g en banc denied,

   Nov. 23, 2020 (citation omitted) (“Whether or not they had good reason to pursue charges,

   Disciplinary Counsel’s inquiry into Klayman's affairs and decision to seek disciplinary action ‘was

   plainly within the general matters … committed to [their] discretion’ under D.C. law, entitling

   ODC employees to absolute immunity from the damages claims.”); Klayman v. Fox, C.A. No. 18-

   1579 (RDM), 2019 WL 2396538, *11 n.3 (D.D.C. June 5, 2019), aff’d 2020 WL 6038713 at *1;

   Klayman v. Office of Disciplinary Counsel, No. 2020 CA 000756 B, slip op. (D.C. Super. Ct. Oct.

   1 2020) (dismissing abuse of process claim against ODC and D.C. Bar officials).

          Plaintiff does not dispute – nor could he – that the parties are completely diverse. As

   demonstrated above, the amount in controversy exceeds $75,000. Accordingly, the Court should

   deny Plaintiff’s motion to remand.

   II.    Plaintiff’s motion for sanctions is procedurally deficient and unsupported.

          Plaintiff’s motion for Rule 11 sanctions should be denied because it is procedurally invalid.

   When a party intends to file a Rule 11 motion for sanctions, the party must first serve that motion

   on the alleged violator and wait 21 days. Fed. R. Civ. P. 11(c)(2). During that 21-day period –

   the so-called “safe harbor” period – the opposing party may withdraw or correct the challenged

   filing. This allows a party to reconsider questionable conduct without fear that doing so will be

   viewed later as an admission that the pleading in question violated Rule 11. Fed. R. Civ. P. 11,

   advisory committee’s note. Plaintiff filed his motion for sanctions without providing Defendants’

   counsel with a copy of the motion even one day in advance, much less the required 21 days. In



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   addition, Plaintiff included his motion for sanctions in his motion for remand, despite Rule

   11(c)(2)’s clear command that “[a] motion for sanctions must be made separately from any other

   motion.” Given Plaintiff’s failure to comply with the basic provisions of Rule 11, the Court should

   deny the motion for sanctions without reaching the substance of Plaintiff’s allegations.

             Even if the Court considers Plaintiff’s Rule 11 motion, the motion is without merit and

   should be dismissed on that ground. The standard for finding frivolity is high: the position must

   be “based on groundless factual allegations” and contain “no evidence to support the[]

   allegations.” Lawson v. Sec'y, Dep't of Corr., 563 F. App'x 678, 680 (11th Cir. 2014) (citation

   omitted). Here, Plaintiff demands sanctions solely based on Defendants’ notice of removal. For

   the reasons explained in the notice of removal and above, the removal is based on well-established

   law and Plaintiff’s own prior admissions as to the amount in controversy on his claims. While

   Plaintiff argues without support that his prior complaints against Defendants “have no bearing on

   this current action,” and therefore Defendants “have absolutely no basis in law or fact to seek

   removal” (Dkt. No. 8 at 1–2), Defendants have shown that Plaintiff’s assertions are an inaccurate

   assessment of the law. There is simply no basis for imposing sanctions against Defendants or

   Defendants’ counsel.

                              __________________________________________

             For all of the reasons described in detail herein, the “interests of justice” factors weigh

   strongly in favor of federal jurisdiction in this case, and Plaintiff’s Motion to Remand should be

   denied.

                                              CONCLUSION

             The Court should see through Plaintiff’s charade that the “object of the litigation” in this

   action is not damages but merely injunctive relief – to prevent Defendants performing their official

   duties for the D.C. Bar Office of Disciplinary Counsel and the District of Columbia Court of
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   Appeals. The parties’ diversity is undisputed. Plaintiff admits that these disciplinary proceedings

   are the core of this complaint and his prior filed (and in three instances, adjudicated) cases establish

   that Plaintiff affirmatively values his claim at amounts greater than $75,000. For the foregoing

   reasons, Plaintiff’s motion to remand and his request for sanctions should be denied.

   Dated: March 8, 2022                           Respectfully submitted,


                                                  /s/ Brian Rafkin
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